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                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF TEXAS
                             DALLAS DIVISION

EUGENE FRED ELFRANK,                         §
    ID # 07783-510,                          §
          Petitioner,                        §
                                             §
v.                                           §        No. 3:24-CV-2865-D-BW
                                             §
VOA/AG of the USA,                           §
         Respondents.                        §        Referred to U.S. Magistrate Judge 1

     FINDINGS, CONCLUSIONS, AND RECOMMENDATION OF THE
               UNITED STATES MAGISTRATE JUDGE

       Before the Court is the Petition for Writ of Habeas Corpus Under 28 U.S.C.

§ 2241, received on November 12, 2024. (Dkt. No. 3.) Based on the relevant filings

and applicable law, the Court should DISMISS the petition without prejudice.

                                  I. BACKGROUND

       Eugene Fred Elfrank, a federal inmate at a Bureau of Prisons (“BOP”)

residential reentry center (“RRC”) in Hutchins, Texas, filed a petition for a writ of

habeas corpus under 28 U.S.C. § 2241 challenging his arrest and indictment in his

underlying criminal case and the delay of his release to home confinement under the

First Step Act. (See Dkt. No. 3 at 5-6.) He names the entity administering his RRC

and the Attorney General of the United States as the respondents. (See id. at 1.)

       Elfrank pled guilty under a plea agreement to one count of conspiracy to

commit wire fraud in violation of 18 U.S.C. § 1349 and § 1343 in the United States

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         By Special Order No. 3-251, this habeas case has been automatically referred for
full case management.
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District Court for the Eastern District of Texas, Sherman Division. See United States

v. Elfrank, No. 4:22-CR-153-SDJ-AGD-3, Dkt. Nos. 54-58 (E.D. Tex. Feb. 14, 2023).

By judgment dated June 20, 2023, that court sentenced him to 27 months’

imprisonment, to be followed by three years of supervised release. See id., Dkt. No.

75 (E.D. Tex. June 20, 2023). It also ordered him to pay restitution, jointly and

severally with his co-defendants, in the amount of $772,500. See id.

       Elfrank now asserts three grounds for relief in his § 2241 petition:

       (1) Petitioner was never lawfully arrested under Rules 3 and 4 of F.R.
       Cr. Pr.;

       (2) Petitioner is detained in violation of 18 USC 3049, indictment rule
       of law; and

       (3) FSA benefits[ ] to home confinement [are] being delayed.

(Dkt. No. 3 at 5-6.) He seeks “Immediate Release to Home Confinement.” (Id. at

7.) According to the BOP’s public records, Elfrank is not in BOP custody as of

December 4, 2024. See BOP Inmate Locator, available at https://www.bop.gov/

inmateloc/ (last visited Dec. 5, 2024).

                                  II. JURISDICTION

       Generally, a § 2241 petition is the proper procedural vehicle to challenge “the

manner in which a sentence is carried out or the prison authorities’ determination of

its duration,” while claims collaterally challenging the validity of a federal sentence

are properly raised in a motion under 28 U.S.C. § 2255. Pack v. Yusuff, 218 F.3d 448,

451 (5th Cir. 2000); see also Padilla v. United States, 416 F.3d 424, 425-26 (5th Cir.



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2005). When a § 2241 petition challenges the validity of a federal sentence by

attacking errors that occurred at or prior to sentencing, as here, the court must

dismiss it or construe it as a § 2255 motion, unless the petitioner shows under the

“savings clause” of § 2255 that the remedy provided by § 2255 “is inadequate or

ineffective.” Pack, 218 F.3d at 452; see also 28 U.S.C. § 2255(e). To make this

showing, the petitioner must demonstrate that “unusual circumstances make it

impossible or impracticable to seek relief in the sentencing court.” Barrientes v.

Warden USP Pollock, No. 23-30896, 2024 WL 2369376, at *1 (5th Cir. May 23, 2024)

(unpublished) (quoting Jones v. Hendrix, 599 U.S. 465, 478 (2023)).

       Here, Elfrank contends in his first and second grounds for relief that the

sentencing court in the underlying criminal case from the Eastern District of Texas

lacked personal jurisdiction over him because there was no probable cause for his

arrest, and that the indictment in the case was fatally flawed, respectively. (See Dkt.

No. 3 at 6.) Although he filed his petition under § 2241, because he is challenging

alleged errors that occurred “at or prior to sentencing” in the underlying criminal

case, these grounds are properly raised under § 2255. Pack, 218 F.3d at 451.

       In response to an instruction on his § 2241 petition to state why his remedy

under § 2255 was inadequate or ineffective to test the legality of his detention,

Elfrank states in part:

       Original district court [ ] lacks any personal or venue and subject matter
       jurisdictions (18 USC 3041, 3044, 3231) and therefor[e] cannot
       “continue their criminal case.” ([A]dvisory notes: 2255).



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(Dkt. No. 3 at 9.) Elfrank’s allegations that the sentencing court lacks jurisdiction

are unavailing and fail to establish that “unusual circumstances make it impossible or

impracticable to seek relief in the sentencing court.” Cabello v. Hijar, No. 24-50407,

2024 WL 4614718, at *1 (5th Cir. Oct. 30, 2024) (unpublished) (citation and internal

quotation marks omitted). Elfrank therefore has not satisfied his burden to show that

his first and second grounds are reviewable under the savings clause of § 2255(e), and

those grounds can only be considered through a § 2255 motion to vacate. See, e.g.,

Barrientes, 2024 WL 2369376, at *1.

      “A section 2255 motion must be filed in the sentencing court,” and Elfrank

was sentenced in the Eastern District of Texas. Pack, 218 F.3d at 451; see also 28

U.S.C. § 2255(a). Accordingly, this Court lacks jurisdiction to consider Elfrank’s

first and second grounds under § 2255. The Court therefore should dismiss his first

and second grounds without prejudice for lack of jurisdiction.

                                 III. EXHAUSTION

      In his third ground for relief, Elfrank contends that the BOP and the Attorney

General of the United States are delaying his release to home confinement under the

First Step Act. (See Dkt. No. 3 at 6.)

      A federal prisoner seeking relief under § 2241 generally must exhaust his

administrative remedies through the BOP before presenting his claims in federal

court. See Broderick v. Chapman, 364 F. App’x 111, 112 (5th Cir. 2010) (citing Fuller v.

Rich, 11 F.3d 61, 62 (5th Cir. 1994)). “The basic purpose of the exhaustion doctrine

is to allow an administrative agency to perform functions within its special
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competence—to make a factual record, to apply its expertise, and to correct its own

errors so as to moot judicial controversies.” Parisi v. Davidson, 405 U.S. 34, 37

(1972). Courts may sua sponte dismiss § 2241 petitions for lack of exhaustion. See,

e.g., Pritchett v. Upton, No. 3:16-CV-3344-M-BN, 2016 WL 7971334, at *2 (N.D. Tex.

Dec. 30, 2016).

      By statute, the Attorney General of the United States, through the BOP,

determines whether and how long to place a federal inmate in a halfway house prior

to completion of his sentence and computes sentence credit awards. See United States

v. Setser, 607 F.3d 128, 132-33 (5th Cir. 2010); Brown v. Underwood, No. 3:19-CV-

1706-B-BN, 2019 WL 5580106, at *2 (N.D. Tex. Aug. 22, 2019) (“The decision

whether – and, if so, for how long – to place an inmate in a residential reentry center

(‘RRC’) – a halfway house – is committed to the BOP under statutory authority.”),

rec. adopted, 2019 WL 5579198 (N.D. Tex. Oct. 28, 2019). Subpart B of Title 28 of

the Code of Federal Regulations sets forth the BOP administrative procedure for

inmates seeking formal review of their complaints. See 28 C.F.R. §§ 542.10-542.19.

      Under this procedure, inmates may “seek formal review of an issue relating to

any aspect of his/her own confinement.” 28 C.F.R. § 542.10(a). The administrative

process begins with informally presenting the issue to BOP staff for resolution,

followed by successive formal steps which respectively require the submission of an

Administrative Remedy Request to the warden, an appeal to the appropriate

Regional Director if unsatisfied with the warden’s response, and an appeal to the

BOP General Counsel if unsatisfied with the Regional Director’s response. See 28
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C.F.R. §§ 542.13-542.15. The filing of an appeal to the BOP General Counsel “is the

final administrative appeal.” 28 C.F.R. § 542.15(a). Upon completing this multi-

tiered review process, a federal inmate exhausts his administrative remedies for filing

a § 2241 petition. See Gross v. Cruz, No. 3:09-CV-0928-B, 2009 WL 1675075, at *1

(N.D. Tex. June 15, 2009). This process also applies to inmates who are designated

to RRCs and former inmates complaining of issues that arose during their

confinement. See 542.10(b).

      A petitioner need not exhaust administrative remedies, however, when “the

available administrative remedies either are unavailable or wholly inappropriate to

the relief sought, or where the attempt to exhaust such remedies would itself be a

patently futile course of action.” Fuller, 11 F.3d at 62 (citation and quotation marks

omitted). Such “exceptions to the exhaustion requirement apply only in

‘extraordinary circumstances,’ and [the petitioner] bears the burden of demonstrating

the futility of administrative review.” Id. (internal citation omitted). If a petitioner

carries his burden to demonstrate an applicable exception to the exhaustion

requirement, he may obtain a merits ruling on his § 2241 petition despite a lack of

exhaustion. See id.

      Here, Elfrank provides no evidence and alleges no facts showing that he

pursued, much less exhausted, his available administrative remedies as to his third

ground, or that an exception to the exhaustion requirement applies. (See Dkt. No. 3

at 2.) Accordingly, the Court should dismiss his third ground without prejudice for

failure to exhaust available remedies.
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                             IV. RECOMMENDATION

       The Court should DISMISS Elfrank’s claims challenging his sentence and

conviction in the Petition for Writ of Habeas Corpus Under 28 U.S.C. § 2241,

received on November 12, 2024 (Dkt. No. 3), without prejudice for lack of

jurisdiction. The Court should DISMISS Elfrank’s claim regarding his release to

home confinement without prejudice for failure to exhaust available remedies.

       SO RECOMMENDED on December 5, 2024.




                                          ____________________________________
                                          BRIAN McKAY
                                          UNITED STATES MAGISTRATE JUDGE




                     INSTRUCTIONS FOR SERVICE AND
                   NOTICE OF RIGHT TO APPEAL/OBJECT

       A copy of this report and recommendation will be served on all parties in the
manner provided by law. Any party who objects to any part of this report and
recommendation must file specific written objections within 14 days after being
served with a copy. See 28 U.S.C. § 636(b)(1); FED. R. CIV. P. 72(b). To be specific,
an objection must identify the finding or recommendation to which objection is
made, state the basis for the objection, and indicate the place in the magistrate
judge’s report and recommendation where the disputed determination is found. An
objection that merely incorporates by reference or refers to the briefing before the
magistrate judge is not specific. Failure to file specific written objections will bar the
aggrieved party from appealing the factual findings and legal conclusions of the
magistrate judge that are accepted or adopted by the district court, except upon
grounds of plain error. See Douglass v. United Services Automobile Ass’n, 79 F.3d 1415,
1417 (5th Cir. 1996), modified by statute on other grounds, 28 U.S.C. § 636(b)(1)
(extending the time to file objections to 14 days).


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